  Case: 1:22-cv-00125 Document #: 306 Filed: 02/02/23 Page 1 of 12 PageID #:5345




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 ANDREW CORZO, SIA HENRY, ALEXANDER
 LEO-GUERRA, MICHAEL MAERLENDER,
 BRANDON PIYEVSKY, BENJAMIN SHUMATE,
 BRITTANY TATIANA WEAVER, and
 CAMERON WILLIAMS, individually and on
 behalf of all others similarly situated,

                                 Plaintiffs,
                                                           Case No.: 1:22-cv-00125
                            v.
                                                           Hon. Matthew F. Kennelly
 BROWN UNIVERSITY, CALIFORNIA
 INSTITUTE OF TECHNOLOGY, UNIVERSITY                       CERTAIN DEFENDANTS’
 OF CHICAGO, THE TRUSTEES OF COLUMBIA                      MOTION FOR ENTRY OF
 UNIVERSITY IN THE CITY OF NEW YORK,                       ORDER REGARDING THE
 CORNELL UNIVERSITY, TRUSTEES OF                           HEA STATUTE AND
 DARTMOUTH COLLEGE, DUKE UNIVERSITY,                       PRODUCTION OF CERTAIN
 EMORY UNIVERSITY, GEORGETOWN                              FAFSA INFORMATION
 UNIVERSITY, THE JOHNS HOPKINS
 UNIVERSITY, MASSACHUSETTS INSTITUTE
 OF TECHNOLOGY, NORTHWESTERN
 UNIVERSITY, UNIVERSITY OF NOTRE DAME
 DU LAC, THE TRUSTEES OF THE
 UNIVERSITY OF PENNSYLVANIA, WILLIAM
 MARSH RICE UNIVERSITY, VANDERBILT
 UNIVERSITY, and YALE UNIVERSITY,

                                 Defendants.

  CERTAIN DEFENDANTS’ MOTION FOR ENTRY OF ORDER REGARDING THE
    HEA STATUTE AND PRODUCTION OF CERTAIN FAFSA INFORMATION

       Defendants, with the exception of Cornell University, submit the attached proposed order

(“Exhibit A”) regarding the production of certain data that is derived from or related to the U.S.

Department of Education’s Free Application for Federal Student Aid (“FAFSA”) and whose use

is governed by the Higher Education Act of 1965 (“HEA”). Cornell does not join in this motion

and has informed the parties that it intends to separately file a statement setting forth its position.
  Case: 1:22-cv-00125 Document #: 306 Filed: 02/02/23 Page 2 of 12 PageID #:5346




The moving Defendants have conferred with Plaintiffs, who agreed to the provisions in the

proposed Order regarding the collection, anonymizing, and production of FAFSA information

being authorized under the HEA, but refused to join this motion without the Order also imposing

requirements related to how FAFSA information may be designated and used under the

Confidentiality Order (Docket No. 254). Moving Defendants respectfully request that the Court

enter this Order as soon as possible to facilitate their ability to collect, anonymize, and produce

structured financial aid data that contains FAFSA information.

       Plaintiffs have requested certain FAFSA-derived or -related information (including certain

information from the Institutional Student Information Record (“ISIR”) that schools receive from

the Department of Education based on the FAFSA). The moving Defendants also expect that the

parties may seek similar information from non-party colleges or universities. The HEA statute, in

relevant part, governs the use of FAFSA information including the privacy of information that

institutions of higher education receive through FAFSA/ISIR. According to the HEA statute, data

collected by FAFSA “shall be used only for the application, award, and administration of aid

awarded under this subchapter, State aid, or aid awarded by eligible institutions or such entities as

the Secretary may designate.” 20 U.S.C. § 1090 (emphasis added); see also Priv. Tech. Assistance

Ctr., Guidance on the Use of Financial Aid Information for Program Evaluation and Research,

U.S.   Dep’t     of   Educ.,    PTAC-FAQ-9        (Jan.   2017)     (“Guidance”),     available    at

https://studentprivacy.ed.gov/sites/default/files/resource_document/file/FSA_final_0.pdf.

       The moving Defendants are unaware of any court rulings interpreting the above-quoted

language concerning whether disclosure of FAFSA information in response to discovery requests

(or a court order) can be deemed use “for the application, award, and administration of aid” in the

context of a lawsuit brought by students based on alleged conduct pertaining to the calculation of


                                                 2
  Case: 1:22-cv-00125 Document #: 306 Filed: 02/02/23 Page 3 of 12 PageID #:5347




“aid awarded.” Accordingly, out of an abundance of caution, movants seek an order authorizing

Defendants and non-party colleges and universities to produce information that is governed by the

HEA.

        Given the requirements of the HEA statute, the moving Defendants respectfully request

that this Court enter the attached proposed order that (i) authorizes disclosure of information

derived from or related to the FAFSA/ISIR, pursuant to the protections of the Order Regarding

FERPA and the Production of Certain Documents and Information (“FERPA Order,” Docket No.

231) and the Confidentiality Order (Docket No. 254) entered in this case, and (ii) finds that such

collection, production, and use in this litigation is part of the “administration of aid” in each

Defendant’s and non-party college’s and university’s financial aid program. Because the efficient

and effective administration of financial aid programs is the subject of this action, this

interpretation of the HEA statute is consistent with the Department of Education’s interpretation

of “administration of aid,” as used in the HEA statute, to include “audits and program evaluations

necessary for the efficient and effective administration of those student aid programs.” Guidance,

supra, at 6.1

        Further, this Order is consistent with guidance provided by the Department of Education

at a 2019 Federal Student Aid Training Conference for Financial Aid Professionals, which is

attached here as Exhibit B. Slides 37 to 39 provide that an institution may produce “a student’s

FAFSA data in response to a lawfully issued subpoena . . . if the purpose in obtaining the

information is related to the application, award, or administration of aid.” As noted, the litigation

here relates to the application, award, or administration of financial aid.


1 An agency’s guidance is entitled to certain deference. See Kisor v. Wilkie, 139 S. Ct. 2400, 2408
(2019) (affirming and explaining Auer v. Robbins, 519 U.S. 452, 453 (1997)).


                                                  3
  Case: 1:22-cv-00125 Document #: 306 Filed: 02/02/23 Page 4 of 12 PageID #:5348




         All productions of FAFSA/ISIR-derived or -related information in this action shall be de-

identified and designated Confidential Information in compliance with the FERPA Order and the

Confidentiality Order.

         Accordingly, the moving Defendants respectfully request that the Court enter this proposed

Order.


Dated: February 2, 2023                       Respectfully submitted,

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Case: 1:22-cv-00125 Document #: 306 Filed: 02/02/23 Page 5 of 12 PageID #:5349




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                                      5
Case: 1:22-cv-00125 Document #: 306 Filed: 02/02/23 Page 6 of 12 PageID #:5350




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                                      6
Case: 1:22-cv-00125 Document #: 306 Filed: 02/02/23 Page 7 of 12 PageID #:5351




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                                      7
Case: 1:22-cv-00125 Document #: 306 Filed: 02/02/23 Page 8 of 12 PageID #:5352




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                                      8
Case: 1:22-cv-00125 Document #: 306 Filed: 02/02/23 Page 9 of 12 PageID #:5353




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                                      9
Case: 1:22-cv-00125 Document #: 306 Filed: 02/02/23 Page 10 of 12 PageID #:5354




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                                      10
Case: 1:22-cv-00125 Document #: 306 Filed: 02/02/23 Page 11 of 12 PageID #:5355




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                                      11
Case: 1:22-cv-00125 Document #: 306 Filed: 02/02/23 Page 12 of 12 PageID #:5356




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                                      12
